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PLAINTIFE’S EXHIBIT

Exhibit Number: 2

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NuVasive, Inc,

EXCLUSIVE SALES REPRESENTATIVE AGREEMENT y

This EXCLUSIVE SALES REPRESENTATIVE AGREEMENT (the “Agre] Absolute Medical, LLC, et al.

into effective as of February 14, 2013 (“Effective Date”) by and between NuVasive, | Date Identified:
JUN 2 8 2018

corporation with principal offices at 7475 Lusk Boulevard, San Diego, California 92
and Absolute Medical LLC, a Florida limited liability corporation with a principal p

 

213 Villa Di Este Terrace #105, Lake Mary, Florida 32746 (“Representative”) (each | Date Admitted:) (jy 28 2018

collectively “the Parties”).

1.

 

 

DEFINITIONS ———_______ eT

1.1 “Products” means those products listed in Exhibit A attached hereto. Products subject to
this Agreement may be changed, discontinued or added by NuVasive, at its sole discretion, so long as
such change, discontinuation and/or addition similarly affects, or would otherwise put Representative
in line with, the product offering for other similarly situated sales representatives of NuVasive. Such
change, discontinuation and/or addition shall be effective thirty (30) days after delivery by NuVasive
to Representative of a new Exhibit A.

2 “Territory” means the geographic areas and/or specific institutions listed on Exhibit B
hereto. he Territory may be increased or decreased by agreement of the Parties in writing. NuVasive
may, in its sole discretion, decrease the Territory if (i) the Territory is not sufficiently covered by
sufficient representation in accordance with the sales action plan agreed to by the Parties and delivered
pursuant with Section 6.4, (ii) Representative is in violation of Section 6.12, 6.14 or 6.15 of this
Agreement, (iii) Representative is in Poor Standing, or (iv) NuVasive pays Representative an amount
equal to the then-current Stated Percentage with respect to the sales generated (based on either the
sales generated in the prior calendar year or the twelve (12) months following decrease in Territory, as
determined in the sole discretion of NuVasive) in the portion of the Territory that is being decreased
from Representative.

APPOINTMENT AND AUTHORITY OF REPRESENTATIVE

2.1 Exclusive Sales Representative. Subject to the terms and conditions herein, NuVasive
hereby appoints Representative as NuVasive's exclusive sales representative for Products in the
Territory, and Representative hereby accepts such appointment. Representative's sole authority shall
be to solicit orders for Products in the Territory in accordance with the terms of this Agreement.
Representative shall not have the authority to make any commitments whatsoever on behalf of
NuVasive.

2.2. Territorial Limitation. Representative shall not, directly or indirectly, (i) advertise or
promote any Products outside the Territory; (ii) solicit or procure any orders for Products from outside
the Territory; or (iii) otherwise act as NuVasive’s representative with respect to the Products outside
the Territory, without the prior written consent of NuVasive. Representative may only submit and
procure orders from customers located and taking delivery of Products within the Territory.
Representative shall maintain sufficient representation in all spine hospitals and clinics in the Territory
and shall promptly replace any sales representatives that leave Representative’s organization while the
Agreement is in force. Any accounts or portions of the Territory without sufficient representation may
at NuVasive’s discretion be moved to a non-exclusive status (notwithstanding Section 2.1) or removed
from the Territory.

EXHIBIT

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2.3 Independent Contractors. The relationship of the Parties established by this Agreement is
that of independent contractors, and nothing contained in this Agreement shall be construed to (i) give
either Party the power to direct and control the day-to-day activities of the other Party, (ii) constitute
the Parties as partners, joint venturers, co-owners or otherwise as participants in a joint undertaking, or
(iii) allow Representative to create or assume any obligation on behalf of NuVasive for any purpose
whatsoever. All financial and other obligations associated with each Party’s business and its
performance of obligations under this Agreement are the sole responsibility of the respective Party.
Each Party shall be solely responsible for, and shall indemnify and hold the other Party free and
harmless from, any and all claims, actions, proceedings, damages, liability, costs and expense
(including reasonable attorneys’ fees) arising out of the acts of its employees or its agents. For the
avoidance of doubt, with respect to its sales representatives, Representative shall be solely responsible
for hiring, promoting, discharging, scheduling appointments, establishing pay scales and/or other
remuneration, remunerating, reimbursing for work-related expenses, implementing discipline and any
other action directly related to the employment of such sales representatives.

2.4 Conflicts of Interest. Representative represents and warrants to NuVasive that it does not
(nor does any entity or person affiliated with it) currently represent or promote any lines or products
that are competitive with any NuVasive Product, and that it shall not (nor shall any entity or person
affiliated with it) during the ‘Term, directly or indirectly, represent, promote, sell or otherwise
commercialize within the Territory (i) any lines or products that are competitive with any Product
covered by this Agreement or (ii) any non-NuVasive products for use in spine surgery. Further, during
the Term, Representative shall not, directly or indirectly, represent, promote, sell or otherwise
commercialize any products (other than the Products) without the written consent of NuVasive, In
addition, Representative represents that its performance of all the terms of this Agreement and as an
agent of NuVasive does not and will not breach any agreement to keep in confidence proprietary
information, knowledge or data acquired by it in confidence or in trust prior to its engagement by
NuVasive, and Representative agrees not to disclose to NuVasive any confidential or proprietary
information or material belonging to any previous employers or other entities with whom
Representative has been involved. Representative represents and warrants that it has not entered into
(and is not bound by) any agreement, either written or oral, that is in conflict herewith or in conflict
with the engagement contemplated hereby.

2.5 Corporate Compliance. Representative agrees and warrants that it will cooperate fully
with NuVasive personnel in all respects with regard to performing the obligations of this Agreement,
including participating in requested teleconferences, meetings, and travel, and providing sales target
and sales forecasting information to NuVasive upon reasonable request.

3, COMMISSION

3.1 Sole Compensation. Representative's sole compensation under the terms of this
Agreement shall be (i) a commission (“Commission”) based on Net Sales (as defined in Section 3.2
below) of Products resulting from Representative’s procurement of orders therefore pursuant to this
Agreement, in accordance with the schedule set forth in Exhibit C hereto and (ii) $300,000 paid in
accordance with the schedule set forth in Exhibit D hereto.

3.2 Basis of Commission. The Commission shall apply to all Product orders (i) procured by
Representative from customers within the Territory in accordance with this Agreement; (ii) that have
been accepted by NuVasive; and (iii) for which shipment of Products and recognition of revenue by
NuVasive has occurred. Commissions shall be computed based on “Net Sales” which shall, for
purposes of this Agreement, be defined as the dollar amount actually received by NuVasive from a
customer for the sales of the Product(s), less charges for shipping, handling, freight, taxes, C.O.D.

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charges, insurance, tariffs and duties, cash and trade discounts, rebates, charge back payments to
managed healthcare organizations, amounts allowed or credited for returns, uncollected or
uncollectable amounts, services, and the like. The Territory may be subdivided into regions if set forth
as such on Exhibit B, Exhibit C or Exhibit E (as updated from time to time by NuVasive). Separate
Quota Commitments may be designated for each such region.

3.3 Time and Manner of Payment. The Commission pursuant to Section 3 on a given order
shall be due and payable thirty (30) days after the end of the calendar month in which NuVasive

invoices and ships that order.

3.4 Commission Charge Back. NuVasive shall have the absolute right to set such cash
discounts, to make such allowances and adjustments, to accept such returns from its customers, and to
write off as bad debts such overdue customer accounts as it deems advisable in its discretion. In each
such case, NuVasive shall charge back to Representative's account any Commission previously paid or
credited to it with respect to such cash discounts, allowances, adjustments, returns or bad debts.
Representative also agrees to accept charges for: (i) pricing arrangements (or side deals) not approved
by NuVasive; (ii) lost, damaged or missing inventory; (iii) failure to comply with NuVasive’s
communicated policies, e.g,, inventory management policy (i.e. carrying charges for excess inventory
levels) and prohibition of “house accounts”; and (iv) courier charges for the delivery of Products when
NuVasive standard method of shipping was available,

3.5 Monthly Statements. NuVasive shall submit to Representative monthly statements of the
Commissions due and payable to Representative under the terms of this Agreement, with reference to
the specific invoices on which the Commissions are being paid.

3.6 Potential Bonus Payments. NuVasive may, from time to time and in its sole discretion,
pay bonuses as separately outlined by Sales Administration for the achievement of peak sales
performance and as part of special product roll-outs and initiatives.

4, SALE OF THE PRODUCTS

4.1 Prices and Terms of Sale. NuVasive shall provide Representative with copies of its
current price lists, its delivery schedules, and its standard terms and conditions of sale, as established
from time to time. Nu Vasive’s current terms and conditions of sale are attached hereto as Exhibit F,
which may be amended from time to time in the sole discretion of NuVasive (the “Terms and
Conditions”). Representative shall quote to customers only those authorized prices, delivery
schedules, and terms and conditions, and shall have no authority to quote or offer any discount to such
prices or change any such terms and conditions, without the prior written consent of NuVasive.
NuVasive may change the prices, delivery schedules, and terms and conditions, at any time and from
time to time, such changes to be effective thirty (30) days after delivery by Nu Vasive to
Representative of written notice of any such changes. Each order for a Product shall be governed by
the prices, delivery schedules, and terms and conditions in effect at the time the order is accepted by
NuVasive, and all quotations by Representative shall contain a statement to that effect.

4.2 Orders: Acceptance. All orders for the Products shall be in writing, and the originals shall
be submitted to NuVasive. NuVasive shall promptly furnish to Representative informational copies of
all commissionable orders sent by customers in the Territory. All orders obtained by Representative
shall be subject to acceptance by NuVasive at its sole discretion. Representative shall have no
authority to make any acceptance or delivery commitments to customers. NuVasive agrees that its
normal business practice is to accept all bona fide orders for Products, subject to availability and
NuVasive’s credit and ordering policies,

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4.3 Collection. It is expressly understood by Representative that full responsibility for all
collection rests with NuVasive, provided, at NuVasive’s request, Representative will assist NuVasive
in the collection of any accounts receivable of NuVasive.

5, WARRANTY

5.1 Customer Warranty. Any warranty for the Products shall run directly from NuVasive to
the customer, and pursuant to the warranty the customer shall return any allegedly defective Products
to NuVasive. Representative shall have no authority to accept any returned Products.

5.2 Warranty Terms. All warranty claims shall be governed by the Terms and Conditions.
6. ADDITIONAL OBLIGATIONS OF REPRESENTATIVE

6.1 Quota Commitment Representative shall solicit orders that are submitted to NuVasive in
accordance with this Agreement for the quantity of Products set forth in Exhibit E attached hereto
(“Quota Commitment”). The Quota Commitment shall be determined, based on dialogue with
Representative, by NuVasive in its sole discretion and delivered to Representative within thirty (30)
days of the end of each calendar year, or as may be delivered to Representative by NuVasive from
time to time (it being understood that NuVasive intends to deliver a Quota Commitment at intervals
more frequently than annually only with respect to newly introduced products). If Representative (i)
fails to secure orders for ninety-five percent (95%) of its aggregate Quota Commitment in any two
consecutive calendar quarters, or (ii) fails to secure orders for ninety-five percent (95%) of its
aggregate Quota Commitment for any given calendar year, then Representative shall be deemed in
“Poor Standing” and NuVasive may, at its discretion and without prejudice to any other rights
NuVasive may have under this Agreement, terminate Representative’s exclusivity granted in Section
2.1 herein and appoint one or more additional representatives for sale of Products in the Territory,
reduce the Territory per Section 1.2, and/or terminate the Agreement at will per Section 11.3. If
Representative is deemed to be in Poor Standing, Representative may regain good standing (and no
longer be deemed in Poor Standing): (a) by achieving its aggregate Quota Commitment for a calendar
quarter or the calendar year, or (b) as of the January |“ following the year in which Representative is
deemed to be in Poor Standing unless Representative is, within fifteen (15) days of the end of the year,
(1) notified by NuVasive that it is in Poor Standing, or (2) provided with a corrective sales plan by
NuVasive. If NuVasive provides a corrective sales plan as set forth in the prior sentence, then
Representative shall be deemed in Poor Standing until Representative has successfully completed the
corrective sales plan, as determined in the sole discretion of NuVasive. For the avoidance of doubt,
Representative shall not be in Poor Standing as of the Effective Date. Orders fulfilling the Quota
Commitment shall be based on bona fide orders submitted to NuVasive that would, upon acceptance
by NuVasive, qualify for the payment of a Commission to Representative. The Territory may be
subdivided into regions if set forth as such on Exhibit B, Exhibit C or Exhibit E (as updated from
time to time by NuVasive). Separate Quota Commitments may be designated for each such region.

6.2 Representative Infrastructure and Promotion of the Products. NuVasive and
Representative acknowledge and agree that development of proper infrastructure on the part of
Representative is vital for the success of the business, NuVasive will work with Representative to
develop and refine expectations for business investments to be made by Representative for the purpose
of expanding its infrastructure (e.g., overseeing operations, operational activities, adding personnel
with specialized skills, investing in new markets, computer systems and software, inventory tracking
and management, etc.) (the “Infrastructure Investments”). The Infrastructure Investments required by
NuVasive will be reasonable in scope and expense and will be supported with resources from
NuVasive. As the Infrastructure Investments are defined and communicated to Representative from

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time to time, Representative agrees to comply with the Infrastructure Investments and agrees that
failure to do so shall entitle NuVasive to appropriately redefine the Territory and/or terminate
Representative’s exclusivity. Representative acknowledges and agrees to maintain sufficient
personnel to effectively and consistently promote the sale of the Products as contemplated by the
Agreement, with a focus on selling a complete mix of the various Products. Representative shall also
provide sufficient promotional support to its sales representatives in order to promote the Products in
their assigned ferritories. Representative agrees not to sell all or any part of the Promotional Materials
of Section 7.2 to any third party without the prior written consent of NuVasive. Representative shall
use the Promotional Materials of Section 7.2 solely to demonstrate and promote the Products to bona
fide customers considering ordering such Products in strict accordance with all the terms of this
Agreement and solely to the extent necessary to fulfill the purposes of this Agreement.

6.3 Territorial Responsibility. Representative shall assign its entire Territory to individual
sales representatives, shall set individual quotas for each representative, and shall communicate all
such information to NuVasive on an ongoing basis.

6.4 Sales Action Plans. Representative shall provide to NuVasive, within thirty (30) days
following the end of each calendar year, an annual sales objectives plan detailing Representative’s
sales goals and execution strategies for the coming year. In addition, Representative shall deliver to
NuVasive, by the fifth (5") day of each calendar month, a monthly action plan detailing

Representative’s sales history, revised sales plans and strategies.

6.5 Audit. Upon reasonable request by NuVasive, Representative agrees to furnish a ful! and
detailed statement of NuVasive’s business and in Territory but only to the extent it relates to this
Agreement, including without limitation to matters related to Sections 6.10 and 6.13 herein. NuVasive
shall have the right during normal business hours and upon thirty (30) days prior written notice to audit
Representative’s records relative to NuVasive’s business (including basic financial information of
Representative) and verify any Representative statement sent to NuVasive.

6.6 Demonstration and Staff Training. NuVasive agrees to provide Representative and its
personnel with adequate training regarding the use and operation of the Products, and to also provide
its staff and personnel with regular training regarding any updates to the Products. Representative
agrees to attend (and have its applicable employees and contractors attend within 90 days of date of
hire by Representative) training as requested by NuVasive. Representative agrees (i) that all of its
applicable employees and contractors will attend NuVasive’s sales training course within six (6)
months of execution of this Agreement and (ii) to implement a sales training plan agreed upon by
Representative and NuVasive’s sales management that takes full use of training courses and provides
regular and thorough training to entire sales team. Representative also agrees to:meet NuVasive’s
requirements for attendance and participation in NuVasive’s Marquis Visit Program, which shall
include an annual quota for MVPs to be scheduled by Representative. Costs associated with
attendance at training events shall be borne by Representative.

6.7 Product Complaints, Representative represents and warrants that Representative shall: (i)
promptly investigate and monitor all customer and/or regulatory complaints and/or correspondence
concerning the use of the Products in the Territory; (ii) immediately notify NuVasive of all such
complaints and/or correspondence; (iii) assign to NuVasive all rights (including intellectual property
rights), title and interests in and to any customer feedback with regard to the Products, and (iv) take
any and all such actions to ensure such assignment is effected, upon reasonable request of NuVasive.

 

6.8 Representations; Marketing. Representative represents and warrants it shall not make
any false or misleading representations to customers or others regarding NuVasive or the Products, or

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about NuVasive competitors or competitor products. Representative represents and warrants that it
shall not make any representations, warranties or guarantees with respect to the specifications, features
or capabilities of the Products that are not consistent with, or otherwise expand upon the claims in, the
Promotional Materials or other documentation supplied by NuVasive. Representative represents and
warrants that it shall use only the Promotional Materials supplied by NuVasive in its promotion of the
Products. Representative represents and warrants that in no event shall Representative make any
guarantee or warranty concerning the Products that is inconsistent with, or otherwise expands upon,
NuVasive's standard limited warranty or on behalf of any vendor or supplier of NuVasive.
Representative represents and warrants that it shall promote and market the Products in accordance
with the training provided by NuVasive.

6.9 Notice of Changes. Representative shall promptly advise NuVasive of (i) any changes in
Representative status, organization, personnel, and similar matters, (ii) any changes in the key
personnel, organization, and status of any major customers of NuVasive in the Territory, and (iii) any
political, financial, legislative, industrial or other events in the Territory that could affect the mutual
business interests of Representative and NuVasive, whether harmful or beneficial.

6.10 Compliance with Laws and Policies. Representative represents and warrants that it will
comply with all applicable federal, state, local, municipal, regulatory and/or governmental agency
laws, statutes, regulations, edicts, guidance, directives, and ordinances, including, without limitation,
(a) the Social Security Act; (b) HIPAA, (c) all federal and state health care anti-fraud, anti-kickback
and abuse laws such as 42 U.S.C. § 1320a-7b(b); (d) the Federal Food, Drug, and Cosmetic Act and its
implementing regulations; (e) all rules, regulations, and guidance of the FDA; and (f) all rules and
regulations of the Center for Medicare and Medicaid Services (CMS). Without limiting the generality
of the foregoing, except to the extent allowed by applicable law, Representative will make no offer,
payment or other inducement, whether directly or indirectly, to induce the referral of business, the
purchase, lease or order of any item or service, or the recommending of the purchase, lease or order of
any item or service. Representative will comply, and will ensure its personnel carrying out activities
under this Agreement comply, with all operating and compliance policies of Nuvasive, including
(without limitation) the MDMA Code of Conduct on Interactions with Healthcare Providers (a copy
of which is attached as Exhibit G hereto), NuVasive’s Code of Ethical Business Conduct, NuVasive’s
Global Business Ethics Program, Insider Trading Policy and Inventory Management Policy (relating to
wide variety of inventory management issues, including without limitation inventory investment,
accountability for inventory management (such as cost-sharing) and consignment inventory), as such
policies may be created and updated from time to time, and including any applicable training
requirements with respect to such policies. Additionally, on not less than an annual basis,
Representative shall certify to compliance with the Healthcare Compliance Guide by submitting a
Certification of Compliance to NuVasive that Representative is in compliance with this Section 6.10
and any other compliance terms in this Agreement in a form acceptable to NuVasive.

 

6.11 Sales Representatives. NuVasive may elect to interview candidates for sales
representative positions and to approve or disapprove such candidates based upon the hiring profile;
provided, however, that such approval or disapproval does not affect Representative’s authority to
making hiring or other employment decisions. NuVasive shall! have the right to approve how such
sales representatives are trained and deployed, Representative shall compensate its sales
representatives in its discretion.

6.12 Regulatory Compliance. Representative will not alter or modify the Product(s) in any
way prior to delivery to Customers. Representative shall at all times conduct its activities on behalf of
NuVasive in accordance with the labeling limitations on the Products, the terms of this Agreement,
NuVasive's written policies and procedures, and in compliance with applicable state and federal laws

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in effect from time to time, including the FDA's quality system regulations (QSR), Adverse Event
Reporting System (AERS) and/or current good manufacturing practice (CGMP) regulations and shall
undertake all required compliance actions, including establishing and implementing all required
control and reporting procedures. Representative shall provide NuVasive with such information and
data as may be requested by Company pursuant to this Agreement.

6.13 Agreement Regarding Competitive Products; Non-Solicitation. During the Term and for

a period of one (1) year following the expiration or termination hereof, neither Representative nor any
of Representatives partners, employees, sub-contractors, sales personnel (whether employees of
Representative or independent contractors), affiliates or agents (nor any entity in which Representative
has an ownership interest) (each a “Representative Affiliate”) shall (i) develop, represent, promote or
otherwise try to sell within the Territory any lines or products that, in the Company's reasonable
judgment, compete with the Products covered by this Agreement, (ii) solicit (directly or indirectly) any
current or former customers of NuVasive to purchase any products or lines that are, in the Company’s
reasonable judgment, competitive with the Products covered by this Agreement, or (iii) solicit or offer
work to, directly or indirectly, any of NuVasive’s employees, agents or representatives.

Representative represents and warrants that (A) each Representative Affiliate engaged by it on the date
of execution hereof has executed an agreement (a “Compliance Agreement”) in form and substance
sufficient to contractually obligate such person or entity to comply with the restrictions contained in
this Section 6.13, (B) each person or entity who becomes a Representative Affiliate in the future shall
execute a Compliance Agreement prior to performing any services for the benefit of NuVasive, (C)
each Compliance Agreement will name NuVasive as an intended third party beneficiary with full right
to directly enforce provisions necessary to comply with this Section 6.13, and (d) it will vigorously
enforce the restrictions contained in this Section 6.13 and each Compliance Agreement at its own cost
(and in the event Representative fails to adequately enforce such restrictions, NuVasive may do so at
Representative’s cost). Representative shall provide NuVasive a copy of each Compliance Agreement
with respect to each Representative Affiliate immediately upon such person or entity becoming a
Representative Affiliate. In addition, notwithstanding Section 12.1, this Section 6.13 shall be
interpreted and enforced in accordance with the laws of the state in which Representative last resides
while performing services for NuVasive, without regard to the conflict of laws provisions of said state.
Each Compliance Agreement shall require all sales representatives to comply with the terms of
Sections 6.10 and 6,12 hereof, and each such Compliance Agreement shall be provided to NuVasive,
The one (1) year period during which the restrictions of this Section are applicable shall toll for any
period of time in which Representative is not in compliance herewith.

NuVasive and Representative acknowledge and agree that the foregoing non-competition
covenants are reasonable and necessary to protect the legitimate interests of NuVasive, including
without limitation, the protection of Confidential Information. Representative further acknowledges
and agrees that such covenants are an essential part of, and consideration for, NuVasive’s promises
contained in this Agreement.

6.14 Debarment. Representative represents and warrants that neither it nor any of its personnel
carrying out activities under this Agreement have been nor are debarred, suspended, excluded or are
otherwise ineligible under Section 306 of the Federal Food, Drug and Cosmetic Act (as amended by
the Generic Drug Enforcement Act of 1992), 21 U.S.C. § 336, or are listed on any applicable federal
exclusion list including the then-current: (a) HHS/OIG List of Excluded Individuals/Entities (available
through the Internet at http://www.oig.hhs.gov); (b) General Services Administration’s List of Parties
Excluded from Federal Programs (available through the Internet at http://www.epls.gov); and (c) FDA
Debarment List (available through the internet at http:/Awww.fda.gov/ora/compliance_ref/debar/).
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6.15 Interaction with Health Care Professionals. Representative represents and warrants that
neither it nor any of its personnel carrying out activities under this Agreement currently have any form
of compensation arrangement with any Health Care Professional other than an agreement to purchase
product. Representative agrees that neither it nor any of its personnel shall enter into, any
arrangement (e.g., grants, donations, sponsorships, reimbursement of expenses, etc.) or agreement, oral
or written, with a Health Care Professional, other than for the purchase of product without the express
prior written consent of NuVasive’s Compliance Officer or his/her designee. A breach of this
provision shall be cause for NuVasive to terminate this Agreement at will.

6.16 Insurance. During the Term, Representative shall maintain in full force and effect one or
more policies of the following insurance coverage of not less than the following amounts: (i) General
Liability - Two Million Dollars ($2,000,000) aggregate, One Million Dollars ($1,000,000) Bodily
Injury/Property Damage per occurrence, One Million Dollars ($1,000,000) Personal and Advertising
Injury, One Hundred Thousand Dollars ($100,000) Damage to Rented Premises, Ten Thousand
Dollars ($10,000) Premises Medical Payments; (ii) Property Coverage equal to replacement value of
property owned along with extra expense coverage to cover period of time to replace office premises;
(iii) Professional Liability: One Million Dollars ($1,000,000) aggregate and per occurrence; (iv)
Automobile Liability for owned, non-owned and hired autos (as applicable) - One Million Dollars
($1,000,000) per accident; and (v) Workers Compensation sufficient to meet statutory required
benefits of the state in which your employees are domiciled; all from carrier(s) reasonably acceptable
to NuVasive. On an ongoing basis, Representative shall provide NuVasive with one or more
certificates of insurance showing that Representative maintains insurance in accordance with this
Section 6.16. Such certificates shall confirm that NuVasive has been named as an additional insured on
Representative’s insurance policies by endorsement to such policies and shal! provide that there shall
be no cancellation or reduction in coverage without thirty (30) days’ prior written notice to NuVasive.

t ADDITIONAL OBLIGATIONS OF NUVASIVE

TA Training by NuVasive. NuVasive shall provide sales and compliance training to
Representative's personnel at periodic intervals, with the frequency and content of the training to be
determined by NuVasive, When possible, such training shall be given at Representative's facilities,
but it may be necessary to provide combined training at a geographically central location near but not
in the Territory. Travel and expenses associated with attendance by Representative and
Representative’s personnel shall be borne by Representative. Representative shall sign all
certifications confirming its training as may be requested by NuVasive.

7.2 Promotional Materials, NuVasive shall provide Representative with marketing and
technical information concerning the Products as well as reasonable quantities of brochures,
instructional material, advertising literature, product samples, and other Product data (“Promotional
Materials”). NuVasive may charge Representative for such materials. Representative shall not add,
delete, or modify any language in the Promotions Materials in any manner, except for adding
Representative contact information, Under no circumstances shall Representative use any other
promotional material or literature regarding the Products without the prior written consent of
NuVasive.

73 ‘Telephone Marketing and ‘Technical Support. Nu Vasive shall provide a reasonable level
of technical support in English to personnel of Representative who have been trained by NuVasive
during its normal business hours to answer Representative's questions related to the Products.
NuVasive will also provide assistance to Representative regarding sales administration, hiring, and
implementation of sales plans.
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8.

INDEMNITY

Subject to all of the Conditions set forth in this Section 8, NuVasive shall defend, indemnify and
hold harmless Representative and its employees and agents, from and against any and all causes of
action, claims, suits, proceedings, damages and judgments by third parties (collectively, “Claims"), to
the extent that such Claims are based primarily on an alleged manufacturing or design defect in a
Product sold by Representative. In the event that any Claim is asserted against Representative,
Representative shall provide written notice to NuVasive within (10) days after learning of such Claim.
NuVasive will have the right to select counsel, and conduct and contro} at its expense the defense
against and settlement of such Claim in its own name, or if necessary in Representative's name and
NuVasive's defense counsel may act on Representative’s behalf regardless of whether such Claim has
also been asserted against NuVasive. Representative will cooperate with and make available to
NuVasive such assistance and information as may be reasonably requested by NuVasive, and
Representative will have the right to participate in the defense, including representation by
independent counsel, at Representative's expense, provided that under such circumstances
Representative will have the right to compromise and settle the Claim only with the prior written
consent of NuVasive. If, in connection with any Claim it is determined by NuVasive that
Representative acted beyond its authority, or failed to comply with any of its material obligations
under this Agreement, NuVasive shall be immediately relieved of its obligations to Representative
under this Section 8.

TRADEMARKS

9.1 Use. NuVasive hereby grants to Representative the non-exclusive, non-transferable,
limited right and license for the Term to indicate to the public that it is an authorized representative of
the Products and to advertise (within the Territory) such Products under the trademarks, service marks,
logos, and trade names that Nu Vasive may adopt from time to time (“Trademarks”). Representative
shall not alter or remove any Trademark applied to the Products. Except as set forth in this Section 9,
nothing contained in this Agreement shall grant to Representative any right, title or interest in the
Trademarks, At no time during or after the Term shall Representative challenge or assist others to
challenge NuVasive’s ownership of its Trademarks or attempt or assist others to attempt to register any
trademarks, marks or trade names confusingly similar to those of NuVasive. Should NuVasive notify
Representative that the use of any Trademarks violates the then in effect Trademark guidelines
(“Trademark Guidelines”) established by NuVasive, Representative shall bring such use into
conformance with the Trademark Guidelines and shall provide to NuVasive a specimen of such
conforming use. Notwithstanding the foregoing, NuVasive, at its discretion, may terminate this
trademark license when it determines that Representative is using the Trademarks in a manner that
violates NuVasive’s then in effect Trademark Guidelines. Promptly following termination or
expiration of this Agreement for any reason, Representative shall take all actions necessary to transfer
and assign to NuVasive all rights, title and interest in and to the Trademarks and goodwill related
thereto which Representative may have acquired as a result of this Agreement and shall promptly
discontinue all uses of the Trademarks, Representative shall cooperate with NuVasive, at Nu Vasive’s
expense, to register the Trademarks in any jurisdiction, including executing appropriate documents and
otherwise assisting NuVasive.

9.2 Approval of Representations. All| representations of the Trademarks that Representative
intends to use (including without limitation in any catalogue or other marketing collateral) shall first be
submitted to NuVasive for written approval (which shall not be unreasonably withheld) of design,
color, and other details. Representative may not mark the Products or Product packaging materials
with its own trademarks, service marks, trade names, or logos or those of any third party (“Other
Marks”) without the prior written consent of NuVasive. If any of NuVasive’s Trademarks are to be

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used in conjunction with Other Marks on or in relation to the Products, then the Trademarks shall be
presented equally legibly, equally prominently, and of greater size than the other but nevertheless
separated from the Other Marks so that the Trademarks and the Other Marks each appears to be a mark
in its own right, distinct from one another.

10. CONFIDENTIALITY

10.1 Confidential Information. “Confidential Information” means the proprietary or
confidential information of NuVasive which is disclosed to Representative, whether before or after the
Effective Date, and (a) if disclosed in writing, is marked as confidential at the time of disclosure, or
(b) if disclosed orally or in other intangible form, is identified and treated as confidential at time of
disclosure and identified in writing and marked confidential within thirty (30) days after disclosure
and relates to products, plans, designs, costs, prices, finances, marketing plans, business opportunities,
personnel, research, development, know-how, trade secrets, inventions, blueprints, techniques,
processes, algorithms, software programs, schematics, designs, contracts, customer lists, procedures,
formulae, patent applications and other information relating to NuVasive’s business, services,
processes or technology. Confidential Information shall not include information that Representative
proves: (i) was known by Representative or was publicly available prior to disclosure by NuVasive to
Representative; (if) became publicly available after disclosure by NuVasive to Representative through
no act of Representative; (iii) is hereafter rightfully furnished to Representative by a third party
without confidentiality restriction; or (iv) is disclosed with the prior written consent of NuVasive or as
expressly authorized under this Agreement.

10.2 Non-Disclosure. Parties shall not, except as otherwise expressly provided herein, use,
disclose, disseminate or otherwise allow access to the Confidential Information of the other Party to
anyone other than to employees that have a need to know such Confidential Information to implement
this Agreement and who are bound by written confidentiality obligations with provisions no less
stringent than those contained in this Section 10, Each Party shall prevent unauthorized disclosure or
use of the Confidential Information of the other Party. Parties shall execute all documents and
otherwise shall take all necessary steps to ensure that each be able to enforce rights hereunder
pertaining to Confidential Information. Parties shall be responsible for any breach of this Section 10.2
by employees, contractors or agents,

10.3 Ownership. Representative acknowledges and agrees that NuVasive (or its licensors)
owns all rights, title and interests, including intellectual property rights, in and to NuVasive’s
Confidential Information.

10.4 Notification. If Representative learns or believes that any person who has had access to
the Confidential Information of NuVasive has violated or intends to violate this Agreement,
Representative shall immediately notify NuVasive and shall cooperate with NuVasive in seeking
injunctive or other equitable relief against any such person.

10.5 Exceptions. Representative may disclose the Confidential Information of NuVasive, only
if such disclosure is required by law, provided that Representative promptly notifies NuVasive to
allow intervention by NuVasive (prior to the disclosure), cooperates with NuVasive to contest or
minimize the disclosure (including application for a protective order) at NuVasive’s expense and limits
such disclosure to the party entitled to receive the Confidential Information and to the scope of the
legal requirement. Notwithstanding the foregoing, any Confidential Information disclosed pursuant to
this Section 10.5 shall otherwise continue to be treated as Confidential Information hereunder.
Notwithstanding anything to the contrary, Representative must obtain the consent of NuVasive prior to
disclosure of this Agreement to any third party.

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10.6 Confidentiality of Agreement. Representative shall not disclose any term of this
Agreement or announce the existence of this Agreement without the prior written consent of
NuVasive.

10.7 Reproduction of Confidential Information. Confidential Information shall not be
reproduced except as required to implement this Agreement. Any reproduction or derivative of any
Confidential Information of NuVasive by Representative shall remain the property of NuVasive and
shall contain all confidential or proprietary notices or legends which appear on the original.

10.8 Equitable Remedies. Any unauthorized disclosure or use of Confidential Information by
Parties shall be a material breach of this Agreement, and Parties shall be entitled to all remedies
available under law or in equity, including without limitation injunctive relief without the need to post
a bond therefor.

I, TERM AND TERMINATION

11.1 Term. This Agreement shall take effect on the Effective Date and continue in force for a
term beginning on the Effective Date and ending on December 31, 2013 (“Term”), unless sooner
terminated under the provisions of this Section 11. Representative understands and agrees that
following termination for any reason, Representative will be responsible for returning any outstanding
inventory items and will be held responsible for missing items.

11.2 Termination for Cause. (i) If either party defaults in the performance of any provision of
this Agreement, then the non-defaulting party may give written notice to the defaulting party that if the
default is not cured within thirty (30) days the Agreement (except for breaches of Section 2.5, 6.1, 9,
10 or 12.3, in which case such termination shall be immediate upon notice) will be terminated. Such
thirty (30) day notice period shall not be required if the breach by its nature cannot by its nature be
cured within thirty (30) days.

11.3 Termination At Will. NuVasive shall have the right to terminate this Agreement at will if
Representative is deemed to be in “Poor Standing” per Section 6.1. NuVasive shall also have (i) the
right to terminate this Agreement at will if Representative breaches a term of this Agreement at any
time on or prior to 90 days from the date of this Agreement, and (ii) the termination right described in
Sections 6.15 and 11.6.

11.4 Termination for Insolvency. This Agreement may be terminated by either Party without
notice (i) due to insolvency, receivership or bankruptcy proceedings or any other proceedings for the
settlement of the other Party, (ii) upon either Party making an assignment for the benefit of creditors,
or (iii) upon either Party’s dissolution or ceasing to do business.

11.5 Effect of Termination.

(a) Accrued Obligations. Termination shall not relieve cither party of obligations incurred
prior to the effective date of such termination.

(b) Return of Materials, All trademarks, trade names, patents, copyrights, designs, drawings,
formulas or other data, photographs, samples, literature, sales aids of every kind and
NuVasive Confidential Information shall remain the property of NuVasive. Within ten
(10) days after the termination of this Agreement, Representative shall prepare all such
items in its possession for shipment, as NuVasive may direct, at NuVasive's reasonable
expense. Representative shall not make, use, dispose of or retain any copies or

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derivatives of any NuVasive Confidential Information in any form. Effective upon the
termination of this Agreement, Representative shall cease to use al] Trademarks.
Representative shall comply with all requests from Nuvasive regarding the return of
inventory, Products, samples, etc.

(c) Additional Commissions. In addition to any commissions already earned by
Representative but not yet paid by NuVasive under the terms of Section 3 above,
NuVasive shall pay commissions to Representative on all orders from the Territory that
were accepted by NuVasive within thirty (30) days after the date of termination of this
Agreement and for which NuVasive receives payment within sixty (60) days after the
date of termination of this Agreement.

(d) If NuVasive should terminate this Agreement due to a material breach by Representative
of any of their obligations under Section 2.4, 6.13, 6.15, 9 or 10 of this Agreement, then
in addition to any other legal or equitable remedies available to NuVasive, NuVasive
shall have the right in its sole discretion and for no additional consideration to
Representative: to direct Representative to immediately assign to NuVasive all
Compliance Agreements or similar agreements described in Section 6.13 above; and to
solicit, contract with, or hire any sales representatives of Representative.

11.6 Change of Control]. In the event that NuVasive undergoes a merger, acquisition,
consolidation, a sale of all or substantially all of NuVasive’s assets, or a majority in voting power of
NuVasive’s then-outstanding voting securities are acquired by a third party (each a “Change of
Control”), NuVasive and the successor in interest or acquiring party (the “Acquiring Party”) shall have
the right to terminate this Agreement at any point from thirty (30) days before the occurrence such
event and up to twelve (12) months after such event (the “Termination Right”).

{n connection with a Change of Control, Representative shall be entitled to a payment of up to the
Stated Percentage (the “Change of Control Payment”). The Change of Control Payment, to the extent
paid, shall be paid as follows: one half of the Change of Control Payment shall be paid promptly
following the closing of the Change of Control (the “First Payment”), and the remaining portion of the
Change of Control Payment shall be paid promptly following the termination of this Agreement
pursuant to exercise by NuVasive or the Acquiring Party of the Termination Right (the “Second
Payment”).

Notwithstanding the foregoing, the Change of Contro! Payment shall only be required if
Representative: (i) is currently engaged as a Representative; (ii) is not in Poor Standing; and (ili) is not
in breach of a material provision of this Agreement (including, but not limited to, Section 6.13);
provided, however, if NuVasive is not required to make the Change of Control! Payment solely due to
subsection (ii) of this paragraph, Representative shall be entitled to half of the First Payment and half
of the Second Payment (in accordance with the terms set forth in this Section 11.6).

For purposes hereof, the “Stated Percentage” shall equal five percent (5%) of (a) all annualized sales
generated by Representative pursuant to this Agreement (and in the Territory) minus (b) $10,600,000
which represents Product orders procured from customers within the Territory for the fiscal year ended
December 31, 2012.

11.7 Additional Provisions Regarding Change of Control. In the event the Second Payment is
made, all Compliance Agreements (or similar agreements then in effect) shall be immediately assigned
to NuVasive or the Acquiring Party (at NuVasive’s discretion) and all other reasonable steps (not to
include significant cash payments by Representative) shall be taken by Representative to ensure that

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the services of all Representative Affiliates are continued uninterrupted on behalf of the Acquiring
Party or Nuvasive (as appropriate). Further, NuVasive may at any time Representative is in Poor
Standing, upon payment of the Stated Percentage, elect to terminate this Agreement and have all
Compliance Agreements assigned to it (and require that all other reasonable steps (not to include
significant cash payments by Representative) be taken by Representative to ensure that the services of
all Representative Affiliates are continued uninterrupted on behalf of Nuvasive).

11.8 Survival. The provisions of Section 5, Section 6.13, Section 8, Section 9 (except for the

grant of rights and licenses by NuVasive), and Sections 10-12 shall survive the expiration or
termination of this Agreement for any reason. All other rights and obligations of the parties shall
cease upon termination of this Agreement.

12. MISCELLANEOUS

(a)

(b)

(c)

12.1 Governing Law and Jurisdiction.

Other than with respect to Section 6.13 hereof, this Agreement is entered into in and shall
be governed, construed and enforced in all respects solely and exclusively under the laws
of the State of California, USA without giving effect to any law which would result in the
application of a different body of law. Any and all suits hereunder shall be brought and
resolved solely and exclusively in, and the parties hereby irrevocably consent to the
exclusive jurisdiction and proper venue of, the state and federal courts located in the
County of San Diego, State of California, USA, and waive any objections thereto based
on any ground including improper venue or Forum Non-Conveniens. The parties agree
that any process directed to any of them in any such litigation may be served outside the
State of California, USA, with the same force and effect as if the service had been made
within the State of California, USA, and that service of process may be effected in
accordance with Section 12.2 hereof, Any decision rendered by such court shall be
binding, final and conclusive upon the parties, and a judgment thereon may be entered in,
and enforced by, any court having jurisdiction over the party against which an award is
entered or the location of such party’s assets.

The prevailing party in any action or suit shall be entitled to recover all costs it incurred
in connection therewith, including, without limitation, reasonable attorneys’ fees.

Notwithstanding anything to the contrary herein, each party shall be entitled to seek
injunctive or other equitable relief, wherever such party deems appropriate in any
jurisdiction, in order to preserve or enforce such party’s rights for any breach or
threatened breach of the other party of Articles 6, 9, 10 and 12.5. Each party agrees that:
such Sections are necessary and reasonable to protect the other party and its

business, any violation of these provisions could cause irreparable injury to the other
party for which money damages would be inadequate, and as a result, the other party will
be entitled to seek and obtain injunctive relief against the breach or threatened breach of
the provisions of such Sections without the necessity of posting bond or proving actual
damages. The parties agree that the remedies set forth in this Section 12.1(c) are in
addition to and in no way preclude any other remedies or actions that may be available at
law or under this Agreement.

12.2 Notices. Any notice required or permitted by this Agreement shall be in writing and shall

 

be sent by prepaid registered or certified mail, return receipt requested, addressed to the other party at

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the address shown below or such other address for which such party gives notice hereunder. Such
notice shall be deemed to have been given three (3) days after deposit in the mail.

To NuVasive: NuVasive, Inc.
7475 Lusk Boulevard
San Diego, California 92121
Attention: Legal Department

To Representative: Absolute Medical LLC
213 Villa Di Este Terrace #105
Lake Mary, Florida 32746
Attention: Greg Soufleris

12.3 Assignment, Representative may assign or transfer this Agreement or any of its rights
and obligations under this Agreement only upon the prior written consent of NuVasive, which shall
not be unreasonably denied.

12.4 Property Rights. Representative agree that NuVasive owns all right, title, and interest in
the product lines that include the Products and in all of NuVasive's patents, trademarks, trade names,
inventions, copyrights, know-how, and trade secrets relating to the design, manufacture, operation or
service of the Products, The use by Representative of any of these property rights is authorized only
for the purposes herein set forth, and upon termination or expiration of this Agreement such
authorization shall cease.

12.5 Indemnification,

(a) Representative shall indemnify, defend and hold harmless NuVasive and its directors,
officers, employees and agents from any loss, cost, liability or expense, including
attorneys’ fees, that NuVasive incurs or becomes liable for arising out of any breach by
Representative of any of its representations, warranties and covenants contained herein
and any acts or omissions of Representative or its employees and agents relating to the
performance of this Agreement.

(b) NuVasive shall indemnify, defend and hold harmless Representative and its directors,
officers, employees and agents from any loss, cost, liability or expense, including
attorneys’ fees, that Representative incurs or becomes liable for arising out of any breach
by NuVasive of any of its representations, warranties and covenants contained herein and
any acts or omissions of NuVasive or its employees and agents relating to the
performance of this Agreement.

12.6 Severability. If any provision(s) of this Agreement shall be held invalid, illegal or
unenforceable by a court of competent jurisdiction, the remainder of the Agreement shall be valid and
enforceable and the parties shall negotiate in good faith a substitute, valid and enforceable provision
which most nearly effects the parties’ intent in entering into this Agreement.

12.7 Madification; Waiver. This Agreement may not be altered, amended or modified in any
way except in a writing signed by both parties. The failure of a party to enforce any provision of the
Agreement shall not be construed to be a waiver of the right of such party to thereafter enforce that
provision or any other provision or right.

 

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12.8 Entire Agreement. This Agreement and the exhibits hereto represent and constitute the
sole, final and entire agreement between the parties, and supersedes and merges all prior negotiations,
agreements and understandings, oral or written, with respect to the matters covered by this Agreement,
including (without limitation) the prior Exclusive Sales Representative Agreement executed by the
Parties,

12.9 Counterparts. This Agreement may be executed in two or more counterparts, each of
which shall be deemed an original and all of which together shall constitute one instrument. The
parties agree that a facsimile may be executed as an original.

12.10 Advice of Counsel. Each of the parties to this Agreement represent that they
have had the opportunity to seek the advice of counsel with respect to the negotiation and execution of
this Agreement. Representative further represents that it has executed this Agreement of its own free
will and is not relying on counsel for NuVasive with respect to any portion of this Agreement.

12.11 No Implied Licenses. Except as explicitly set forth herein, Representative is not
granted any explicit or implied licenses in this Agreement.

12.12 Representations and Warranties.

(a) Corporate Power. Representative is duly organized and validly existing under the laws of
its state of incorporation (as set forth on the first page of this Agreement) and has full
corporate power and authority to enter into this Agreement and to carry out the provisions
hereof.

(b) Due Authorization. Representative is duly authorized to execute and deliver this
Agreement and to perform its obligations hereunder. The person executing this
Agreement on Representative’s behalf has been duly authorized to do so by all requisite
corporate action.

(c) Binding Agreement. This Agreement is a legal and valid obligation binding upon the
Parties and enforceable in accordance with its terms. The execution, delivery and
performance of this Agreement by the Parties does not conflict with any agreement,
instrument or understanding, oral or written, to which it is a party or by which it may be
bound, nor violate any material law or regulation of any court, governmental body or
administrative or other agency having jurisdiction over it.

12.13 Compliance. Representative agrees to maintain all records required to
substantiate compliance with all such laws, regulations, policies, procedures and guidelines and terms
of this Agreement for the term of the Agreement plus an additional six years. Representative shall not
in any way disparage NuVasive, its products, or its agents or employees, including, without limitation,
taking any action or making any statement the intent or reasonably foreseeable effect of which is to
impugn or injure the reputation or goodwill of NuVasive or any of its agents or employees.

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This AGREEMENT is bitaved into and binding upon the Parties as of the Effective Date:

 

NUVASIVE, INC. ABSOLUTE MEDICAL LLC

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By: PQ +,

Matt Link, Executive Vice l/resident, US Sales <Gse¢ Shufleris

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EXHIBIT A
PRODUCTS

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
Agreement (the “Agreement”) between the Company and Representative (as defined in the Agreement).
Any capitalized terms not defined in this Exhibit shall have the meaning set forth in the Agreement.
Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
control.

Products: All NuVasive Products

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EXHIBIT B
TERRITORY

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
Agreement (the “Agreement”) between the Company and Representative (as defined in the Agreement).
Any capitalized terms not defined in this Exhibit shall have the meaning set forth in the Agreement.
Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall
control.

Territory:
The following counties in the State of Florida:
Flagler Brevard Martin
Volusia Osceola St. Lucie
Lake (with the exception of Clermont ambulatory Orange
Surgical Center)
Seminole Highlands
Palm Beach: with the exception of the following Indian River

hospital: Lake Worth Surgical Center

The following hospitals in Broward County, Florida:
Advanced Orthopedics
North Broward Medical Center

The following hospital in Miami-Dade County, Florida:
The Gable Surgical Center

The following hospital in Polk County, Florida:
Heart of Florida Regional Medical Center, Davenport, FL

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EXHIBIT C
COMMISSIONS

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
Agreement (the “Agreement’”) between the Company and Representative (as defined in the Agreement).
Any capitalized terms not defined in this Exhibit shall have the meaning set forth in the Agreement.
Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall

control,

Commissions for Exclusive Representatives (stretch amounts paid quarterly):

 

2013

Flat commission on all sales up to $10,600,000 (2012 sales in the Territory) 15%
Flat commission on all sales between $10,600,001 and the aggregate Quota Commitment | 18%
Additional commission on all incremental sales in excess of Quota Commitment should
Distributor achieve aggregate quarterly Quota Commitment but not quarterly Quota 19%
Commitment in each product category.

Additional commission on all incremental sales in excess of Quota Commitment should
Distributor achieve aggregate quarterly Quota Commitment AND quarterly Quota 20%
Commitment in each product category.

 

 

 

 

 

 

 

 

In addition, upon the achievement in $10,600,000 of Net Sales in the Territory, Representative shall be
paid an additional $18,000.

(Above commissions exclude fees/loaner charges, which shall be paid at 20%).

NuVasive reserves the right to introduce new products with different commission structures.

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EXHIBIT D
ADDITIONAL COMPENSATION

Within fifteen days of the completion of the milestones set forth below within the timeframe set forth
below, such completion to be determined in the reasonable discretion of NuVasive, NuVasive shall pay to
Distributor the following amounts.

Within seven (7) days of the Effective Date:

1. $50,000 upon the successful establishment of Distributors legal entity and the execution the
Compliance Agreements for Distributor’s employees/contractors.

2. $10,000 upon completion of compensation plans for the Distributor sales team.
Within thirty (30) days of the Effective Date:

3. $25,000 for the completion, in collaboration NuVasive’s Sales Director, Southeast, of an
updated business plan.

4. $35,000 for the completion of comprehensive recruiting, hiring and expansion plan.
Within sixty (60) days of the Effective Date:

5. $50,000 for the establishment of internal infrastructure to support case scheduling, asset
management, etc., specifically to include:
a. IT Infrastructure (iPad implementation, Email System etc.)
b. Adoption of NuVasive Mobile Charge Sheet and Salesforce.com

6. $50,000 for the successful collaboration and development of a case management and asset
management program and associated metrics.

Within ninety (90) days of the Effective Date:

7. $25,000 for the completion of a new distributor training program, such training program to
include training on:
c. Compliance
Sales Administration
Legal
Sales Training
Leadership Development
Hiring and Recruiting

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Within one hundred and twenty (120) days of the Effective Date:

8. $55,000 upon the execution of hiring and recruiting plan as set forth in Number 4 above.

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EXHIBIT E
2013 QUOTA COMMITMENT

This Exhibit is incorporated by reference into and made a part of the Exclusive Sales Representative
Agreement (the “Agreement”) between the Company and Representative (as defined in the Agreement).
Any capitalized terms not defined in this Exhibit shall have the meaning set forth in the Agreement.
Should a conflict arise between this Exhibit and the Agreement, the provisions of this Exhibit shall

control,

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EXHIBIT F

TERMS AND CONDITIONS OF SALE

[see attached]

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TERMS AND CONDITIONS OF SALE

These terms and conditions govern the sale of all products (“Products”) by NuVasive®, Inc. (“Seller”) to the party issuing an order for Products
hereunder (“Buyer”) and apply notwithstanding any conflicting, contrary or addi(ional terms and conditions in any purchase order or other
document or communication. These terms and conditions constitute the sale, final and entire agreement between Seller and Buyer and supersede
all other agreements between them regarding the subject matter hereof. These terms and conditions may only be waived or modified in a written
agreement signed by an authorized representative of Seller. Neither Seller's acknowledgement of a purchase order nor Seller's failure to object to
conflicting, contrary or additional terms and conditions in a purchase order shall be deemed an acceptance of such terms and conditions or 9
waiver of the provisions hereof.

1, Orders and Acceptance, Orders shall be initiated by Buyer issulng a purchase order to Seller. Orders shall identify the Products, unit
quantities, descriptions, applicable prices and requested delivery dates, All orders are subject ta acceptance by Seller. Accepted orders may not
be cancelled except upon Seller's written approva), which thay, at Seller's discretion, be subject to Buyer's payment of Seller's reasonable
cancellation charges. ORDERS SHALL BE BINDING ONLY UPON BUYER, AND SHALL CEASE TO BE BINDING ONLY IF AND WHEN
EXPRESSLY REJECTED BY SELLER. ONLY ACCEPTED ORDERS SHALL BE BINDING UPON BOTH SELLER AND BUYER. All prices
for Products, including for the use of Loaned Products (defined below), shall be in accordance with Seller's list pricing, unless modified in a
written agreement signed by an authorized representative of Seller.

2. Terms and Method of Payment. Payments shall be due upon receipt of Invoice and shail be made solely in U.S. dollars in immediately avaliable funds. If payment is
nal recelved by Seller within thirty (30) calendar days following the date of Invoice, the unpald balance will accrue Interest fom the date due until the date pald at a rate of
one and one half percent (1.5%) per month, or tha maximum rate allowed under applicable lew, whichever Is less. If in the Judgment of Seller the financlal condition of
Buyer, at any time, does not justify continuance of production or shipment cn the lerms of payment specified, Seller may require full or partial payment of any completed
delivery prior to delivery of any subsequent orders,

3. Title and Delivery.
(A) Products shall be delivered FCA (Incolerms 2000) point of shipment. Tite and risk of loss or damage in the Products shall pass to Buyer upon Seller's tender ol the

Products to a carrier for shipment. If loss or damage occurs during shipment, Buyer shall not be releved of its obligation to pay costs of Insurance, transportation, Import
duties, taxes or any other expenses Incurred for licenses or clearances required al port of entry and destination. A secunty interest in the Products shall be retained by
Sellar until receipt of payment in {ul from Buyer, Seller shall use commercialy reasonable efforts to meet Buyer's requested delivery schedule,

(8) Seller agrees to provide Buyer with loaned Instruments and products (‘Loaned Products’) for use by Buyer with the Products. Seller 1s and shall be at all times the sole
owner of the Loaned Products. Buyer has no right to sell, transfer, assign, pledge or otherwise encumber the Loaned Products without prior written approval by Seller,
Buyer shall bear all risks of loss or damage to the Loaned Products (and all associated costs or expenses) from any cause from tha date of delivery to Buyer unt! retumed
to Seller, unless such loss or damage resulls from tha negligence of Seller,

4, Warranty and Remedies.

(A) Seller warrants that: (1) each Product or Loaned Product shall conform ta ils published specifications upon shipment to Buyer, and (2) for a period of one (1) year fram
the date of delivery, the software Included In any Product will materially conform to Seller's then-current documentation for such software and the media containing such
software (but nol the software itself) Is free from physical defects (the “Limited Warranty’).

(8) EXCEPT FOR THE EXPRESS LIMITED WARRANTY IN SECTION 4[A), TO THE MAXIMUM EXTENT ALLOWABLE UNDER APPLICABLE LAW, SELLER
DISCLAIMS ALL WARRANTIES, WHETHER EXPRESSED OR IMPLIED, STATUTORY OR OTHERWISE (INCLUDING ANY WARRANTY OF MERCHANTABILITY, NON-
INFRINGEMENT, OR FITNESS FOR A PARTICULAR PURPOSE) IN CONNECTION WITH ANY PRODUCT OR LOANED PRODUCT. Seller assumes no liability for
faulty or improper application or use of any Product or Loaned Product or improper use of any Product or Loaned Product in combination with any other products.

(C) With respect to Products or Loaned Products which do not conform to their published specifications, Selier will repair or, al its opton, replace any non-conforming
Products or Loaned Products and return the repalred or replacement Products or Loaned Products to Buyer without charge. Al Products returned under warranty must be
accompanied by a written explanation of the non-conformance. SUCH REPAIR OR REPLACEMENT |S BUYER'S ONLY REMEDY AND SELLER'S ONLY LIABILITY AND
OBLIGATION FOR BREACH OF WARRANTY HEREUNDER,

(0) NOTWITHSTANDING ANYTHING ELSE HEREIN, SELLER WILL NOT BE LIABLE HEREUNDER OR OTHERWISE IN CONNECTION WITH ANY PRODUCT OR
LOANED PRODUCTS, UNDER ANY LEGAL OR EQUITABLE THEORY, WHETHER IN CONTRACT, TORT OR OTHERWISE (INCLUDING NEGLIGENCE OR STRICT
LIABILITY}: (I) FOR ANY AMOUNT EXCEEDING THE AMOUNT PAID BY BUYER TO SELLER FOR THE ORDER GIVING RISE TO SUCH LIABILITY; (If) FOR ANY
PUNITIVE, SPECIAL, INCIDENTAL, INDIRECT OR CONSEQUENTIAL DAMAGES, OR (lif) ANY LOSS OF DATA, LOST PROFITS, LOST OPPORTUNITY OR LOST
REVENUE, WHETHER CHARACTERIZED AS DIRECT DAMAGES OR OTHERWISE.

5, Taxes. Seller's prices are exclusive of all taxes. Responsibility for al customs duties, charges, sales tax, value-added tax, and any other taxes imposed by any taxing
authority on the sale or usa of any of the Products or Loaned Products (excluding any taxes solely on Seller's Income) shal be bore solely by Buyer. If Buyer is tax-
exempt, Buyer shall, prior to purchase, furnish Seller with any documents necessary to demonstrate its tax-exempt status. Providing such documentation, however, does
not relieve Buyar of its obligations to pay taxes in this Section 4, if applicabte.

6, Compillance with Law, Buyer represents, warrants and covenants thal, al all limes, Buyer's use, distribufion, sale, marketing, advertising, import and export of ail
Products and Loaned Products will comply with all applicable laws, rules, regulaiions and industy standards of the United States and of any olher applicable jurisdiction,
anti-kickback laws, physician referral laws, including the U.S. Foreign Corrupt Practices Act and all applicable export laws, restictions, and regulations of the United States
or any applicable foreign goverment, agency or authority. Buyer wil not export or re-export, or authorize the export or re-export of any Product or Loaned Product,
technology or information It cbtains or leams {rom Seller (or any direct product thereof) in violation of any such laws, restrictions or regulafons. Buyer shall obtain and bear
all expenses relating to any necessary licenses and/or exemptions with respect to the export from the USA of the Products or Loaned Products, or the Import of the
Products or Loaned Products to any localion in compliance with all applicable laws and regulations.

7. Intellectual Property Qwnershlp. Buyer acknowledges that the Products and Loaned Products Incorporale technology thal are subject to Seller's intellectual Property
Rights, and thal such technology is not sold to Buyer and Is only licensed to Buyer for use solely as incorporated and/or embedded into tha Product or Loaned Product.
Other than the foregoing license, Seller or ils licensors shall retain all Intellectual Property Rights and interests in and to or underlying the Products ar Loaned Products and
nothing herein shall be construed to grant Buyer a license of any Kind to any Intellectual Property Rights of Seller. To the maximum extent allowable under applicable law,
Buyer agrees that it shall not, directly or Indirectly through any lhird party, reverse engineer, decompile, duplicate or translate any Product or Loaned Product or seek to
reveal the trade secret or know how underlying any Product or Loaned Product. ‘Intellectual Property" or "Intellectual Property Righls* as used herein collectively
means any and all patents, copyrights, trademarks, lrada secrets, mask works, moral rights, know-how or any olher proprialary right, and any applications for the foregoing,
undar the laws of the United States, any other jurisdiction, the European Union, or any other bl-lateral or mult-tateral treaty regime.

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8. ReturnUograde Policy. EXCEPT WITH RESPECT TO BIOLOGIC PRODUCTS, Buyer shall be able to retum any unused Products for full credit within sltty (60) days
of delivery; provided, however, that Buyer will be charged a 30% restocking fea for all unused Products retumed after ten (10) days of delivery; provided further, that al
retums Include a Retums Material Authorization (RMA) number, which can be obtalned from NuVaslve customer service. Buyer will not be able to relum any Products after
sixty (60) days of delivery. Any Instrumentation Product purchased by Buyer from Seller may be upgraded for a newer model developed by Seller (it such model was not
available al the tima of purchase) within three (3) years of the delivery date or the original Instrumentation Product in accordance with the following: (a) for the first year after
the delivery dete, Buyer shal receive 100% credit of the original purchase price lo ba applied toward the purchase, at Seller's Ist price, of the upgraded Instrumentation; (b)
for the second year after the delivery date, Buyer shall receive 50% credit of tha onghnal purchase prica to ba applied toward the purchase, at Seller's list price, of the
upgrade Instrumentation; and (c) for the third year after the delivery date, Buyer shall receive 25% credit of tha original purchase price to be applied toward the purchase, at
Seller's list price, of the upgraded instrumentation.

9. Software Maintenance/Updates. For a period of one (1) year from the date of delivery of a Product contaliing software, Seder wil provide Buyer with software updates
and support services. Support services consist of the following: (a) technical support by telephone twenty-four (24) hours a day, year-round, at Seller's support line at 1-
877-348-5511 from the United States and at 1-858-909-1800 Internationally; and (b) if Buyer reports a software problem to Seller, and Seller confirms that the problem
exists in Seller's Producl, Seller will use Its best efforts to promptly correct or supply a work-around for the error if it substantially degrades the performance of the Product,
end to correct other significant errors in future softwere releases.

10. Discounts and Rebates. Buyer shall disclose any discounts or other reductions in price received under this Agreement as required under Section 1128B(b)(3(A) of
the Social Security Act [42 U.S.C. 1320a-7b(b)(3)(A)] to any state or federal program which provides cost or charge-based reimbursement to Buyer for the Products
purchased under thls Agreement.

11. Miscellaneous. Failure by Soller to Insist upon performance of any term or condition set forth herein shail not be construed as a walver of such terms and conditions
and shall not affect the right of Seller thereafter {o enforce each and every len and concillon, These terms and conditions and all disputes arlsing out of or related to these
terms and conditions shall be solely and exclusively construed and govemed In accordance with the laws of the State of Califomla, USA, without application of any law that
would result in the application of a different body of law. The UN Convention on Contracts for the Intemational Sale af Goods Is hereby expressly excluded and shall not
apply to these terms and conditions. Any and all suits hereunder shall be brought and resolved solely and exclusively in, and the parties hereby krevocably consent to the
exclusive jurisdiction and proper venue of, the state and federal courts located in tha County of San Diego, Stale of Califomia, USA, and waive any objections therelo based
on any ground including Improper venue or Forum Non-Conveniens. These terms and conditions shall be binding upon and inure to tha benefit of the parties, and their
successors, and permitted assigns. If one or more provisions in thesa terms and conditions are ruled entirely or partly invalid or unenforceabla by any court or
govemmental authority of competent jurisdiction, then the remaining portions hereof shall remain valid and the parties shall reform the provision(s) to the minimum extent
necessary to render them valid and enforceable in conformity with the parties’ Intent as manifested herein. Any rights to accrued payments and Sections 2, 4{B), 4(0), 6,6,
7, and 11 shall survive the expiration of these terms and conditions,

Bd.
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EXHIBIT G

MDMA Code of Conduct on Interactions with Healthcare Providers
